


  OPINION OF THE COURT
 

  Appeal dismissed upon the ground that the order appealed from was entered in a criminal action with respect to a motion determined by the Criminal Court of the City of New York, a court of criminal jurisdiction, and is not an order appealable to the Court of Appeals under CPL 450.90
  
   (compare, Matter of Hynes v Karassik,
  
  47 NY2d 659, 661, n 1, dealing with a matter determined by Supreme Court, a court having both civil and criminal jurisdiction).
 

  Concur: Chief Judge Wachtler and Judges Jasen, Meyer, Simons, Kaye and Kassal. Taking no part: Judges Alexander and Titone.
 
